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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
  DAVID C. WARTH,

       Plaintiff,                               CIVIL ACTION FILE NO.
                                                1:23-cv-05072-MLB
  v.

  THOMAS WILLIAMSON,

       Defendant.



             DEFENDANT THOMAS WILLIAMSON’S NOTICE OF
                MANUAL FILING OF ELECTRONIC MEDIA

        COMES NOW, Thomas Williamson (“Defendant Williamson”),

the Defendant in the above-referenced case, and files this, his Notice of Manual

Filing. Defendant Williamson hereby manually files the following in connection

with its Motion for Summary Judgment filed simultaneously herewith.:



        1. a certified copy of the Compact Disc containing an audio recording of the

            Plaintiff’s Preliminary Hearing held on March 28, 2017

        2. a thumb drive containing two video exhibits to Plaintiff David Warth’s

            Deposition Transcript

        Respectfully submitted this 9th day of January, 2025
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                                         PEREIRA, KIRBY,
                                         KINSINGER & NGUYEN, LLP
                                         s/ Stephen D. Pereira
P.O. Drawer 1250                         Stephen D. Pereira
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jjackson@pkknlaw.com                     Counsel for Defendant Williamson




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      Counsel for the Defendant certifies by signature below that DEFENDANT
THOMAS WILLIAMSON’S NOTICE OF MANUAL FILING OF ELECTRONIC
MEDIA has been prepared with Times New Roman 14-point font as required by
Local Rule 5.1.
                                          /s/ Stephen D. Pereira
                                          Stephen Pereira
                                          Gar Bar No. 572051
                                          Attorney for Defendant




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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  DAVID C. WARTH,

       Plaintiff,                                CIVIL ACTION FILE NO.
                                                 1:23-cv-05072-MLB
  v.

  THOMAS WILLIAMSON,

  Defendant.



                           CERTIFICATE OF SERVICE
        I hereby certify that I have this day electronically submitted the foregoing

DEFENDANT THOMAS WILLIAMSON’S NOTICE OF MANUAL FILING OF

ELECTRONIC MEDIA, to the Clerk of Court using the CM/ECF system which

will automatically send electronic mail notification of such filing to counsel of

record who are CM/ECF participants. Additionally, a copy of the electronic media

is being delivered via FedEx to Honorable Michael L. Brown’s office, and

Plaintiff’s counsel at the address below.

        Counsel of record are:

        Kamu K. Mason, Esq.
        Reginald L. Winfrey, Esq
        3036 Woodrow Drive
        Lithonia, GA 30038


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     Reginald L. Winfrey, Esq
     The CD FIRM, LLC
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     Atlanta, GA 31126

     Honorable Michael L. Brown's Office:

     ATTN: Jessica Kelley
     Courtroom Deputy Clerk
     1942 United States Courthouse
     75 Ted Turner, SW
     Atlanta, GA 30303-3309

     This 9th day of January, 2025



                                           PEREIRA, KIRBY,
                                           KINSINGER & NGUYEN, LLP
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